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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
In re:

RALPH LEVI SANDERS, JR.                                               CASE NO. 22-14766-SMG
                                                                      CHAPTER 13
                  Debtor.
____________________________________/

                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Order Granting Motion For Relief From

Stay (Doc. No. 85) was served by CM/ECF notice and first class mail this 13th day of December

2022.

                                                  /s/ Gavin N. Stewart
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Robin R. Weiner
Robin R. Weiner, Chapter 13 Trustee
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